
OPINION OF THE COURT
Memorandum.
The order of the Appellate Division should be affirmed.
When defendant entered a plea of guilty he forfeited his right to claim that he was deprived of a speedy trial under CPL 30.30 (People v Suarez, 55 NY2d 940). Nor may defendant preserve his statutory speedy trial claim for appellate review by obtaining the consent of the prosecutor and the approval of the court at the time the plea is entered (People v Di Raffaele, 55 NY2d 234).
*1011Chief Judge Cooke and Judges Jasen, Gabrielli, Jones, Wachtler, Fuchsberg and Meyer concur.
Order affirmed in a memorandum.
